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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
JOSHUA SILFEE, individually and on
behalf of all others similarly situated,             CIVIL ACTION NO. 3:15-CV-00023
      Plaintiff,
                                                     (JUDGE CAPUTO)
              v.

AUTOMATED DATA PROCESSING,
INC., and ERG STAFFING SERVICE,
LLP

      Defendants.

                                           ORDER
     NOW, this 15th day of September, 2016, IT IS HEREBY ORDERED as follows:
     (1)    Defendant Automated Data Processing, Inc.'s Motion to Compel Arbitration
            and Stay Litigation (Doc. 36) is DENIED.
     (2)    Defendant ERG Staffing Services, LLP's Motion to Compel Arbitration and
            Stay Litigation (Doc. 40) is DENIED.
     (3)    Defendant Automated Data Processing, Inc.'s Motion to Dismiss Plaintiff's
            Amended Class Action Complaint for Failure to State a Claim (Doc. 38) is
            GRANTED as to all claims against Automated Data Processing, Inc., which
            are DISMISSED with prejudice.
     (4)    Plaintiff Joshua Silfee is DENIED an opportunity to file a second amended
            pleading against Defendant Automated Data Processing, Inc.
     (5)    Defendant ERG Staffing Services, LLP's Motion to Dismiss Plaintiff's Amended
            Class Action Complaint for Failure to State a Claim (Doc. 42) is DENIED as to
            all claims against ERG Staffing Services, LLP.




                                                   /s/ A. Richard Caputo
                                                   A. Richard Caputo
                                                   United States District Judge
